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                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA


(1)    CYNTHIA LAKEY AND DOUGLAS LAKEY,
       as co-Special Administrators for the
       Estate of Jared Lakey,

                   Plaintiffs,

v.                                                        20-cv-152-RAW
                                              Case No.: ____________________

(2)    CITY OF WILSON,
(3)    JOSHUA TAYLOR, in his official
       and individual capacities,                   ATTORNEY LIEN CLAIMED
(4)    BRANDON DINGMAN, in his individual           JURY TRIAL DEMANDED
       capacity,
(5)    CHRIS BRYANT, in his official and
       individual capacity as Sheriff of
       Carter County,
(6)    DAVID DUGGAN, in his individual
       capacity,
(7)    FRANK SHAAF, in his individual and
       official capacities,

                   Defendants.


                                   COMPLAINT


       Cynthia and Douglas Lakey (Estate), for their cause of action against the

above-named Defendants, state as follows:

                                        I.

                          PARTIES, JURISDICTION, VENUE

       1.    Cynthia and Douglas Lakey are the court appointed co-Special

Administrators for the Estate of Jared Lakey in Stephens County District Court

Case No. PB-2019-134. They are the parents of Jared Lakey.
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        2.      The City of Wilson (City) is a municipal corporation subject to 11 O.S. §

9-101 et seq.

        3.      City is located in Carter County, Oklahoma.

        4.      City follows the aldermanic form of government.

        5.      Josh Taylor (Taylor) is the current police chief for City.

        6.      On July 4-5, 2019, Taylor was the acting police chief for City, or

alternatively, was the police chief’s authorized decisionmaker.

        7.      The position of police chief, or the chief’s authorized decisionmaker, is

a final policymaker under City’s form of government.

        8.      Brandon Dingman (Dingman) was an employee of City on July 4-5,

2019.

        9.      On July 4-5, 2019, City employed Dingman as a reserve peace officer

subject to 70 O.S. § 3311.

        10.     On July 4-5, 2019, Frank Schaff (Schaff) was City’s elected mayor.

        11.     On July 4-5, 2019, Schaff was Taylor’s landlord.

        12.     On July 4-5, the Carter County Sheriff’s Office (CCSO) employed

David Duggan (Duggan) as a deputy.

        13.     Chris Bryant (Bryant) is the elected Sheriff of Carter County. He is

sued in his official and individual capacities. As Sheriff for Carter County, Bryant is

responsible for the adoption, promulgation, maintenance, and enforcement of CCSO

policies and practices related to use of force and training CCSO deputies.

        14.     On July 19, 2019, a preservation letter was served on City.



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      15.       On July 19, 2019, a preservation letter was served on CCSO.

      16.       On August 30, 2019, a notice of tort claim was served on City.

      17.       No response to the notice of tort claim was received and the claim was

denied by operation of law.

      18.       Estate has timely satisfied all prerequisites to filing suit.

      19.       The events complained of occurred in Carter County, Oklahoma and

some of the claims herein arise under federal law making jurisdiction and venue

proper.

                                             II.

                                   STATEMENT OF FACTS

      20.       Estate adopts and incorporates the preceding paragraphs as if fully set

forth herein.

      21.       Radio logs show that at 11:49 p.m. on July 4, 2019, “Johnna” called to

report a male running down the street. (Ex. 1).

      22.       “Johnna” did not report that the man was naked.

      23.       Radio logs show that at 11:52 p.m., there was a call out to Taylor in

response to the report from “Johnna.”

      24.       A report prepared by Taylor states that he was dispatched in response

to a male screaming and yelling.

      25.       Taylor’s report does not include any facts suggesting he was dispatched

in response to a naked man.

      26.       Radio logs show that at 11:55 p.m. Taylor was “out with the subject.”



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      27.    Upon information and belief, the “subject” was Jared Lakey.

      28.    Taylor was wearing a City-issued body camera at the time.

      29.    City policy required Taylor to activate his body camera before any

police-citizen encounter. (Ex. 2)

      30.    Upon information and belief, Taylor activated his body camera

consistent with City policy.

      31.    Upon information and belief, the police vehicle used by Taylor was also

equipped with a dash camera.

      32.    Upon information and belief, the dash camera would capture events

occurring in front of the vehicle when activated.

      33.    Upon information and belief, City policy required Taylor to activate the

dash camera when he responded to the call from “Johnna.”

      34.    Upon information and belief, Taylor activated the dash camera

consistent with City policy.

      35.    A report prepared by Taylor detailed his narrative of events once

Taylor engaged Jared. (Ex. 3).

      36.    Taylor’s narrative describing how the encounter began is not

corroborated by any video known to exist, including from Taylor’s body or dash

camera.

      37.    Taylor’s narrative claimed Jared was naked with socks on before the

encounter began.

      38.    Taylor’s narrative claimed Jared appeared agitated.



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       39.     Taylor’s narrative claimed Jared went to the front of the patrol vehicle

and pushed down on the pumper guard.

       40.    Taylor’s narrative claimed Jared was “aggressive” and said “Okay we

are going to do this.”

       41.    Taylor’s narrative claimed he unholstered his TASER and ordered

Jared to the ground and put his hands behind his back.

       42.    Taylor’s narrative claimed Jared got on the ground and laid on his

back and rolled over several times.

       43.    Taylor’s narrative claimed he called for Dingman and held Jared at

“TASER point”

       44.    Contrary to Taylor’s narrative, radio logs show that Taylor reported a

TASER deployment at 11:57 p.m.

       45.    Taylor’s narrative, that he merely held Jared at “TASER point,” is

contradicted by the radio logs and Duggan’s report. (Ex. 4)

       46.    Estate specifically disputes that Jared was naked when the encounter

began, and that he behaved as described in Paragraphs 38-40 above. Cf., Pauly v.

White, 814 F.3d 1060, 1079 (10th Cir. 2016) (vacated on other grounds) (“[S]ince the

victim of deadly force is unable to testify, courts should be cautious on summary

judgment to ensure that the officer is not taking advantage of the fact that the

witness most likely to contradict his story-the person shot dead-is unable to

testify.”) (citations omitted).




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       47.    Taylor’s narrative report does not include any statement or suggestion

that Taylor, or anyone else, ever communicated to Jared that he was under arrest.

       48.    When Taylor reported the first TASER deployment, Jared was not

attempting to flee.

       49.    When Taylor reported the first TASER deployment, Jared was not

resisting arrest or physically interfering with an arrest.

       50.    When Taylor reported the first TASER deployment, Jared was not

suspected of committing any violent crime.

       51.    When Taylor reported the first TASER deployment, Jared was not

suspected of committing any felony crime.

       52.    When Taylor reported the first TASER deployment, Jared was not

engaged in any activity that warranted use of a TASER.

       53.    It is excessive to use a TASER in dart mode under the facts described

in Taylor’s narrative prior to the first reported deployment.

       54.    Use of a TASER under the circumstances described in Taylor’s

narrative prior to Dingman’s arrival would not be proportional to the circumstances

confronting Taylor.

       55.    Upon information and belief, City expected Taylor to use the TASER

as part of his job duties.

       56.    At 11:59 p.m., radio logs show that Dingman arrived on the scene and

deployed his TASER.




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       57.    Upon information and belief, City expected Dingman to use the TASER

as part of his job duties.

       58.    A report prepared by Dingman detailed his narrative of events after he

arrived on scene. (Ex. 5).

       59.    Dingman’s narrative claimed that Taylor was holding Jared at TASER

point when he arrived.

       60.    Dingman’s narrative that Taylor was merely holding Jared at TASER

point is contradicted by the radio logs and Duggan’s report.

       61.    Dingman’s narrative claimed that he approached Lakey “to place him

into cuffs”

       62.    Dingman’s narrative claimed as soon as he pulled cuffs and “contacted

Lakey he pushed up off the ground to avoid being placed into cuffs.”

       63.    Dingman’s narrative claimed the two officers continued using their

TASERs “to attempt to keep [Jared] from getting up and giving him the opportunity

to come at Cpt. Taylor of myself.”

       64.    Dingman’s justification for continuing to use the TASER is not

tethered to any effort by Jared to actually get up or “come at Cpt. Taylor or myself.”

       65.    Use of a TASER under the circumstances described in the Paragraph

63 would be excessive.

       66.    Use of a TASER under the circumstances described in Paragraph 63

would not be proportional to the circumstances confronting Taylor or Dingman.




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         67.   Dingman’s narrative claimed both officers continued to give Lakey

commands to place his hands behind his back.

         68.   Dingman’s narrative, like Taylor’s, never suggested that Jared was

placed under arrest or told that he was under arrest.

         69.   Lakey’s physical size would make it difficult if not impossible for him

to comply with commands to put his hands behind his back without assistance.

         70.   Upon information and belief, Lakey did not disobey any commands.

         71.   Upon information and belief, Lakey was effectively subdued at all

times.

         72.   Upon information and belief, Taylor and Dingman repeatedly deployed

their TASERs on Lakey because he was unable to put his hands behind his back.

         73.   Upon information and belief, the repeated use of the TASERs was not

proportional to the circumstances confronting Taylor or Dingman.

         74.   Repeatedly using a TASER in probe mode results in involuntary

movement that is inconsistent with Dingman’s narrative that Jared was acting with

purpose.

         75.   A reasonable officer trained on the use of a TASER in dart mode would

understand and recognize the difference between involuntary or reactionary

movement and purposeful action.

         76.   Jared’s activity, as reported in the narratives by Taylor and Dingman,

is involuntary or reactionary movement and not purposeful action.




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      77.    Dingman’s narrative claimed Taylor replaced his TASER cartridge so

that he could continue his TASER deployments.

      78.    Dingman’s narrative claimed Lakey was “still being combative.”

      79.    Dingman’s narrative used boilerplate language that does not describe

any action by Lakey that would justify using any force at all, and Estate specifically

disputes Dingman’s contentions detailed in Paragraphs 61, 62, 78, and 91.

      80.    Boilerplate language in a use of force narrative is a well-known and

understood report-writing technique that officers use to mask an unlawful or

unjustified use of force.

      81.    Repeatedly using a TASER on Lakey based on boilerplate language

that does not describe any conduct whatsoever is excessive.

      82.    Repeatedly using a TASER on Lakey based on boilerplate language

that does not describe any conduct whatsoever is not proportional to the

circumstances confronting Taylor or Dingman.

      83.    At 12:02 a.m. on July 5, 2019, radio logs show a call out to Officer

Dunn, who worked for a different agency.

      84.    Dingman’s narrative claimed Taylor continued giving commands,

presumably for Jared to put his hands behind his back, an act Jared was incapable

of performing without assistance.

      85.    Dingman’s narrative claimed that along with Taylor, the two decided

to keep Lakey on the ground till more units could arrive “for officer safety.”




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      86.    Dingman’s narrative claimed, “In the state of mind Lakey was in he

was not going to comply with our commands and wanted to fight Captain Taylor

and I.”

      87.    Dingman’s narrative that Jared “wanted to fight” is not supported by

or consistent with Jared’s actions.

      88.    At 12:04 a.m., radio logs document a TASER deployment by Taylor and

a call out to CCSO deputy Duggan.

      89.    Dingman’s narrative claimed both Taylor and Dingman gave “several”

commands for Lakey to place his hands behind his back.

      90.    Dingman’s narrative claimed Lakey continued “not to comply with any

commands.”

      91.    Dingman’s narrative claimed Lakey then attempted to get up again.

      92.    Dingman’s narrative claimed that he deployed a TASER at Jared in

response.

      93.    Video from Taylor’s body camera is available only after both Dingman

and Taylor had already deployed their TASERs.

      94.    Consequently, there is no known video of what occurred between

Jared, Taylor, and Dingman that preceded use of the TASERs.

      95.    Upon information and belief, video was available at the time, but was

later destroyed to deprive Estate and investigators of the footage.

      96.    The lack of any video to document Taylor and Dingman’s justification

for use of the TASER is a violation of City policy for use of body and dash cameras.



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        97.    By July 4-5, 2019, City knew that lack of video creates an opportunity

for officers to falsify the justification for using force.

        98.    Between 12:04 a.m. and 12:09 a.m., Taylor and Dingman repeatedly

deployed their TASERs at Jared.

        99.    Repeatedly using a TASER simultaneously and in dart mode against

Jared was excessive.

        100.   Repeatedly using a TASER simultaneously and in dart mode against

Jared was not proportional to the circumstances confronting Taylor and Dingman.

        101.   Taylor and Dingman deployed their TASERs exclusively in dart mode.

        102.   A TASER used in dart mode goes beyond mere pain compliance. (Ex.

6).

        103.   A TASER used in dart mode is intended to incapacitate a person by

overriding their central nervous system causing neuro-muscular incapacitation

(NMI).

        104.   Where probe spread is too far to achieve NMI, TASER training

requires deployment of a second cartridge to achieve greater probe spread, or a 3-

point technique using the weapon in drive-stun mode.

        105.   TASER does not train law enforcement to achieve NMI through

simultaneous or cumulative exposure.

        106.   During exposure to the weapon, TASER trains to “cuff under power.”




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      107.   The need for multiple TASER cycles or extended/prolonged TASER

exposures can be avoided by “cuffing under power” during the “window of

opportunity” that the 5-second TASER cycle provides.

      108.   Taylor and Dingman repeatedly and simultaneously used the TASER

on Jared without attempting to cuff Jared “under power.”

      109.   The City use of force policy does not require officers to make an effort

to “cuff under power.” (Ex. 7)

      110.   By not requiring officers to make an effort to “cuff under power,” the

City use of force policy permits officers to the use the TASER in a manner that

substantially increases the risk of death of serious bodily injury that is not

proportional to the risk confronting the officer.

      111.   The manner in which Taylor and Dingman deployed the TASER

constitutes “simultaneous” exposure as defined by the available training material

published as of July 4-5, 2019 by Axon, f/n/a TASER, Intl.

      112.   The manner in which Taylor and Dingman deployed the TASER

constitutes “cumulative” exposure as defined by the available training material

published as of July 4-5, 2019 by Axon, f/n/a TASER, Intl.

      113.   The manner in which Taylor and Dingman deployed the TASER risked

causing cardiac capture as defined by the available training material provided as of

July 4-5, 2019 by Axon f/n/a TASER, Intl.




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       114.    The City use of force policy precluded Taylor and Dingman from using

a TASER without first “successfully completing a CLEET approved course of

instruction . . .”

       115.    As of July 4-5, 2019, both Taylor and Dingman had actual knowledge

of the risks associated with “cumulative” exposure.

       116.    As of July 4-5, 2019, both Taylor and Dingman had actual knowledge

of the risks associated with “simultaneous” exposure.

       117.    As of July 4-5, 2019, both Taylor and Dingman had actual knowledge

of the risks associated with “cardiac capture.”

       118.    Taylor and Dingman knew use of the TASER on Jared could result in

death if the they used the TASER improperly or contrary to guidelines.

       119.    The City use of force policy considered the TASER a Level 3 use of

force on a scale of     1-6. Level 1 is officer presence; Level 2 includes verbal

commands.

       120.    City policy limits use of TASERs to circumstances where use is

“necessary and justified to subdue a subject who is threatening violence, resisting

arrest, or physically interfering with an arrest, or to prevent the possibility of injury

to any person.”

       121.    Under the City use of force policy, a Level 3 use of force “includes

control and restraint defensive tactics that have a minimal chance of causing

serious physical injury.”




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      122.   Under the City use of force policy, Level 4 and 5 encounters are

considered “non-deadly.” Level 6 is deadly force.

      123.   Use of a TASER under the circumstances described in Dingman’s

narrative prior to Duggan’s arrival would be excessive.

      124.   Use of a TASER under the circumstances described in Dingman’s

narrative prior to Duggan’s arrival would not be proportional to the circumstances

confronting Taylor or Dingman.

      125.   At 12:09 a.m., radio logs document Duggan’s arrival on scene.

      126.   According to Duggan’s incident report, he heard Taylor tell dispatch

that he deployed his TASER before calling for Dingman.

      127.   According to Duggan’s incident report, when Duggan arrived “Josh and

Brandon stated they had tased [Jared] 2 times . . .”

      128.   Upon information and belief, Taylor and Dingman continued triggering

their TASERs following Duggan’s arrival.

      129.   Upon information and belief, Taylor and Dingman continued to expose

Jared to cumulative and simultaneous TASER deployments despite Duggan’s

presence.

      130.   Use of a TASER after Duggan’s arrival and prior to use of the neck

restraint was excessive.

      131.   Use of a TASER after Duggan’s arrival and prior to use of the neck

restraint was not proportional to the circumstances confronting Taylor or Dingman.

      132.   At 12:10 a.m., radio logs document a call out to Mitchell and Tucker.



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        133.   At 12:11 a.m., radio logs document Dunn’s arrival on scene.

        134.   At 12:12 a.m., radio logs document use of neck restraint.

        135.   The neck restraint was applied by Duggan.

        136.   At the time Duggan applied the neck restraint, Jared was not a threat

to anyone.

        137.   Upon information and belief, at the time Duggan applied the neck

restraint, he had observed at least some of the TASER deployments by Taylor and

Dingman.

        138.   Upon information and belief, Duggan knew the difference between a

TASER used in drive stun mode versus use in probe mode.

        139.   Upon information and belief, Duggan knew about the risks associated

with cumulative TASER exposure.

        140.   Upon information and belief, Duggan knew about the risks associated

with simultaneous TASER exposure.

        141.   Upon information and belief, Duggan knew about the risks associated

with cardiac capture and TASER use.

        142.   At the time Duggan applied the neck restraint, Jared was sitting

down.

        143.   At the time Duggan applied the neck restraint, Jared was not

disobeying any commands.

        144.   At the time Duggan applied the neck restraint, Jared was not actively

resisting any officer.



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      145.   At the time Duggan applied the neck restraint, Jared was not verbally

threatening any officer.

      146.   At the time Duggan applied the neck restraint, Jared was not

attempting to flee.

      147.   At the time Duggan applied the neck restraint, Jared was not

suspected of committing any violent crime.

      148.   Upon information and belief, the restraint Duggan attempted to apply

was a lateral vascular neck restraint (LVNR).

      149.   The Council on Law Enforcement Education and Training (CLEET)

provides training to defensive tactics instructors on use of the LVNR, but it does not

endorse the technique.

      150.   Use of the LVNR is known to cause or contribute to citizen deaths.

      151.   Use of the LVNR is considered deadly force.

      152.   Upon information and belief, the CCSO policy or practice authorized

Duggan to use the LVNR where deadly force was not justified.

      153.   Upon information and belief, Bryant adopted, ratified, enforced, and

maintained a policy or practice authorizing employees to use the LVNR even where

deadly force was not justified.

      154.   Upon information and belief, Bryant and the CCSO expected Duggan

to use the LVNR as part of his job duties, and to use the LVNR in circumstances

where deadly force was not justified.




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        155.   Upon information and belief, after applying the LVNR, Duggan

maintained his hold for more than 15 seconds.

        156.   Upon information and belief, if a LVNR is used, its application should

not exceed 15 seconds.

        157.   Bryant approved use of the LVNR as applied by Duggan.

        158.   Bryant was aware of the risks associated with use of the LVNR.

        159.   Bryant was aware that he authorized use of the LVNR as applied by

Duggan.

        160.   Bryant was aware that CCSO deputies like Duggan were authorized to

use the LVNR under circumstances that did not call for the use of deadly force.

        161.   Bryant expected Duggan to use the LVNR against people like Jared.

        162.   Use of the LVNR against Jared was consistent with the official

practice of Carter County.

        163.   At 12:15 a.m., radio logs document that Jared was not breathing.

        164.   At 12:19 a.m., radio logs document a call out to Bryant.

        165.   At 12:22 a.m., ambulance records document the arrival of EMS.

        166.   According to the EMS run sheet, “[t]he officers advised that they tased

[Jared] 4 times total before they were able to get him on the ground and restrain

him.”

        167.   The statement to EMS that Jared was only subjected to the TASER

four times is demonstrably false; upon information and belief, the true number of

exposures was closer to twenty and possibly more.



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         168.   At 12:43 a.m., ambulance records document leaving the scene with

Jared in route to Healdton Mercy Hospital.

         169.   At 12:53 a.m., ambulance records document arrival at Healdton Mercy

Hospital.

         170.   Upon arrival, medical providers were informed that Jared “was tasered

x4 total - law enforcement says 1st was about 11:30.”

         171.   The statement that Jared was only subjected to the TASER four times

is demonstrably false.

         172.   Communicating to medical providers that Jared was subjected to a

TASER four times was knowingly false or made with reckless disregard for the

truth.

         173.   No reasonable law enforcement officer responding to questions by

medical providers inquiring about the number of TASER exposures, would instead

communicate the number of TASER cartridges used.

         174.   A law enforcement officer communicating the number of TASER

cartridges used in response to questions from medical providers inquiring about the

number of TASER exposures, will predictably mislead inquiring medical providers

about the factual circumstances they are attempting to treat.

         175.   At 3:35 a.m., records document that Jared’s care was transferred from

Healdton Mercy to an air ambulance service.

         176.   Records from the air ambulance service state that Jared “potentially

did shrooms, meth” and that he “was tasered 4xs”



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       177.      The statement that Jared was only subjected to the TASER four times

is demonstrably false.

       178.      The statement that Jared was engaged in illegal drug use was made

either knowing it was false or with reckless disregard for the truth.

       179.      At 5:03 a.m., records document Jared’s arrival at OU Medical Center.

       180.      Records from OUMC show that Jared died at 6:32 a.m. on July 6, 2019.

       181.      The post-mortem toxicology for Jared performed by the Office of the

Chief Medical Examiner was negative for all illegal drugs.

       182.      Contrary to the toxicology, however, medical records from Headlton

Mercy indicate that “law enforcement” informed medical providers that Jared was

under the influence of illegal drugs.

       183.      Contrary to the toxicology, however, medical records from OUMC

indicate that law enforcement reported that Jared “had taken some kind of drugs

(either mushrooms or PCP) and was combative with police therefore he was tazered

4 times . . .”

       184.      Upon information and belief, communicating to medical providers that

Jared was under the influence of illegal drugs was knowingly false or made with

reckless disregard for the truth.

       185.      Upon information and belief, Frank Schaaf communicated with

medical providers or others in the community and told them Jared was under the

influence of illegal drugs.




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       186.   Upon information and belief, the decision to tell medical providers or

others in the community that Jared was under the influence of illegal drugs was

used as pretext to mislead medical providers, influence the course of subsequent

treatment, disparage Jared, cast him in a false light, and further justify the use of

excessive force.

       187.   Jared was employed at the time of his death and left behind a loving

mother, father, and three brothers.

       188.   Upon information and belief, no person was ever disciplined, which is

consistent with the policies and practices of City and Carter County.

                                          IV.

                                STATEMENT OF CLAIMS

                                   First Claim
                       Fourth Amendment – Excessive Force
                                Municipal claims
                                 42 U.S.C. § 1983

       189.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       190.   As detailed above, City has a written policy or unwritten practice that

authorized police officers to use force that is unreasonable considering the totality of

circumstances confronting the officer. This written policy or unwritten practice was

the moving force behind injuries and damages suffered by Jared and the Estate for

which City is liable pursuant to 42 U.S.C. § 1983.




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                                  Second Claim
                       Fourth Amendment – Excessive Force
                                Individual claims
                                 42 U.S.C. § 1983

       191.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       192.   As detailed above, Taylor, Dingman, and Duggan used force that is

unreasonable under the totality of circumstances confronting them. Their actions

were the direct and proximate cause of injuries and damages suffered by Jared and

the Estate for which Taylor, Dingman, and Duggan are liable pursuant to 42 U.S.C.

§ 1983.

                                  Third Claim
                    Fourteenth Amendment – Civil conspiracy
                        Individual and Municipal claims
                                42 U.S.C. § 1983

       193.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       194.   As detailed above, Taylor and Dingman acted in concert to do an

unlawful act, or do a lawful act by unlawful means when they conspired to falsely

report the sequence and number of TASER exposures to both medical providers and

responding law enforcement.

       195.   Taylor and Dingman falsely reported the sequence and number of

TASER exposures to conceal Fourth Amendment violations, violations of policy, and

to mislead responding law enforcement and medical providers.




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       196.   The civil conspiracy between Taylor and Dingman was the direct and

proximate cause of injuries and damages suffered by Jared and Estate for which

these Defendants are liable.

       197.   As the final policymaker or authorized decisionmaker for City, the acts

of Taylor are properly attributable City for which City is liable as well.

                                     Fourth Claim
                          Fourth Amendment – Failure to train
                                   Municipal claims
                                    42 U.S.C. § 1983

       198.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       199.   As detailed above, City, and Taylor in his official capacity, expected

City police officers to use TASERs on citizens, but do not adequately train those

officers on appropriate use despite actual knowledge officers will predictably and

routinely encounter and use TASERs on persons at risk from cumulative and

simultaneous exposure.

       200.   Despite actual or constructive notice of the risk from TASERs, the

policies or practices relative to TASER training authorized Taylor and Dingman to

use their weapons against Jared in manner that substantially increased the

likelihood of death or serious injury, despite the absence of any corresponding

threat to the officers.

       201.   The failure to implement adequate training protocols and guidance

relative to cumulative and simultaneous use, the failure to require officers to obtain

and maintain TASER certification, and the failure to discipline officers for excessive

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and unnecessary use of the weapon, individually and collectively, are the moving

force behind injuries and damages suffered by Jared and Estate for which City, and

Taylor in his official capacity, are liable pursuant to 42 U.S.C. § 1983.

                                  Fifth Claim
                     Fourth Amendment – Excessive force
                  Municipal claims – authorized decisionmaker
                                42 U.S.C. § 1983

        202.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        203.   As detailed above, Taylor was a final policymaker or authorized

decisionmaker for City sufficient to confer liability for his actions under 42 U.S.C. §

1983.

        204.   As detailed above, Taylor’s actions were unreasonable under the

totality of circumstances confronting him for which the City is liable pursuant to 42

U.S.C. § 1983 through Taylor acting as a final policymaker or authorized

decisionmaker.

                                  Sixth Claim
                       Fourth Amendment – Excessive force
                                Entity liability
                                42 U.S.C. § 1983

        205.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        206.   As detailed above, Bryant was a final policymaker for Carter County

sufficient to confer liability on the County for his actions under 42 U.S.C. § 1983.




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       207.   As detailed above, Bryant, in his official capacity, adopted, ratified,

maintained, and enforced an official policy or practice of Carter County authorizing

Duggan to use a LVNR where the totality of the circumstances did not warrant that

level of force.

       208.   The promulgation and enforcement of the policy or practice authorizing

the use of deadly force was the moving force behind injuries and damages suffered

by Jared and the Estate for which Bryant, in his official capacity, is liable pursuant

to 42 U.S.C. § 1983

                                  Seventh Claim
                       Fourth Amendment – Excessive force
                      Supervisory liability – final policymaker
                                  42 U.S.C. § 1983

       209.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       210.   As detailed above, Bryant was a final policymaker for Carter County

sufficient to confer liability on the County for his actions under 42 U.S.C. § 1983.

       211.   Despite knowledge that use of an LVNR can predictably result in

death, Bryant, in his individual capacity, nevertheless permitted Duggan to use the

LVNR under circumstances that did not warrant deadly force, or where the person

was effectively subdued.

       212.   Bryant’s personal involvement in the promulgation and enforcement of

policies and practices approving this level of force was the direct and proximate

cause of injuries and damages suffered by Jared and Estate for which Bryant and

the County are liable pursuant to 42 U.S.C. § 1983.

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                                 Eighth Claim
                       Fourth Amendment – Failure to Train
                                 Entity liability
                                42 U.S.C. § 1983

       213.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       214.   As detailed above, Bryant, in his official capacity, adopted, ratified,

maintained, and enforced an official policy or practice of Carter County authorizing

Duggan to use a LVNR where the totality of the circumstances did not warrant that

level of force.

       215.   Despite the expectation that Duggan would use an LVNR in the

absence of any need to use that level of force, Bryant, in his official capacity, failed

to adopt training protocols for use of LVNRs under predictable and reoccurring

circumstances that include a person recovering from multiple TASER exposures.

       216.   By failing to train deputies on the risk of using a LVNR on a person

recovering from multiple TASER exposures, Bryant, in his official capacity,

substantially increased the risk of harm to Jared by authorizing a LVNR, a

technique that purposefully deprives the person of oxygen, at the same time that

person’s body is experiencing a substantial increase in lactic acid from the TASER

exposures.

       217.   The predictable increase in lactic acid in a person recovering from

multiple TASER exposures, in combination with use of a LVNR that purposefully

deprives the person of oxygen, substantially increases the risk of serious bodily

injury or death from acidosis and ultimately organ failure.

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       218.   The failure to Bryant, in his official capacity, to train on the

appropriate use of LVNRs was a policy or practice of Carter County, and the direct

and proximate cause of injuries and damages suffered by Jared and Estate for

which the County is liable pursuant to 42 U.S.C. § 1983.

                                 Ninth Claim
              Negligent performance of a law enforcement function
                               Municipal liability
                    Oklahoma Governmental Tort Claims Act

       219.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       220.   As detailed above, the force used by Taylor and Dingman constitutes

the negligent performance of a law enforcement function. The actions of Taylor and

Dingman were the direct and proximate cause of the damages and injuries suffered

by Jared and Estate for which the City is liable under state law.

                                  Tenth Claim
                    Statutory excessive force - 22 O.S. § 34.1(b)
                               Municipal liability
                    Oklahoma Governmental Tort Claims Act

       221.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       222.   As detailed above, some or all of the force used by Taylor and Dingman

violated agency policy and constitutes statutory excessive force under Oklahoma

law. The violation of agency policy was the direct and proximate cause of the

damages and injuries suffered by Jared and the Estate for which the City is liable

under state law.



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                                   Eleventh Claim
                                     Defamation
                          12 O.S. 1441 et seq., Common law

       223.   Estate adopts and incorporates by reference the preceding paragraphs

as if fully set forth herein.

       224.   As detailed above, Schaff’s statement regarding drug use exposed

Jared to public hatred, contempt, ridicule or disgrace, Schaff communicated the

statement to persons other than Jared or the Estate, those persons reasonably

understood the statement to be about Jared, the statement was false, and, Schaff

did not exercise the care which a reasonably careful person would use under the

circumstances to determine whether the statement was true or false, and the

statement caused damage to Jared and the Estate for which Schaff is liable under

state law.

                                            V.

                                 RELIEF REQUESTED

       Estate respectfully requests the following relief:

       A.     An award of compensatory damages against each Defendant in excess

of $75,000.00 to be determined by a jury;

       B.     An award of punitive damages against each Defendant sued in their

individual capacity in excess of $75,000.00 to be determined by a jury;

       C.     A declaration that Taylor, Dingman, and Duggan violated Jared

constitutional rights;

       D.     A declaration that Bryant violated Jared’s constitutional rights;



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      E.    A declaration that Carter County’s LVNR policy or practice is

unconstitutional;

      F.    A declaration that City’s use of force policy or practice is

unconstitutional;

      G.    An award of reasonable attorney fees;

      H.    An award of reasonable costs;

      I.    Any other legal or equitable relief available.

                                              Respectfully submitted,

                                              BRYAN & TERRILL



                                       By:    s/J. Spencer Bryan
                                              Steven J. Terrill, OBA # 20869
                                              J. Spencer Bryan, OBA # 19419
                                              BRYAN & TERRILL LAW, PLLC
                                              3015 E. Skelly Dr., Suite 400
                                              Tulsa, OK 74105
                                              Tele/Fax:    (918) 935-2777
                                              Email: sjterrill@bryanterrill.com
                                              Email: jsbryan@bryanterrill.com




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